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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x
                                                                 :
UNITED STATES OF AMERICA,
                                                                 :
                                      Plaintiff,                 :   20‐cr‐0468 (RMB) (OTW)
                                                                 :
                     ‐against‐                                   :            ORDER
                                                                 :
ROBERT HADDEN,                                                   :
                                                                 :
                                      Defendant.                 :
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x

         ONA T. WANG, United States Magistrate Judge:

         IT IS HEREBY ORDERED, based on the hearing held on February 4, 2021 and the financial

documents submitted by the defendant, that:

         1.        Mr. Hadden is eligible for the “partial appointment” of counsel from the Federal

                   Defenders of New York, pursuant to SDNY CJA Plan VI(B);

         2.        Federal Defenders of New York will keep records of all time spent on Mr.

                   Hadden’s defense and provide a monthly total to Mr. Hadden, to the Financial

                   Services Department of the SDNY Clerk’s Office, and to Alan Nelson, the Case

                   Budgeting Attorney for the Second Circuit;

         3.        Review of this monthly total will be subject to the standards set forth in the

                   Guide to Judiciary Policy, Volume 7A, Section 230.33.10: “Voucher cuts should be

                   limited to: (1) [m]athematical errors; (2) [i]nstances in which work billed was not

                   compensable; (3) [i]nstances in which work was not undertaken or completed;

                   and (4) [i]nstances in which the hours billed are clearly in excess of what was

                   reasonably required to complete the task”;
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      4.       The monthly total provided by the Federal Defenders, and any related

               information regarding the Federal Defenders’ defense of Mr. Hadden, will be

               kept under seal, and not shared with the government or the public, absent

               further Order of this Court;

      5.       Mr. Hadden is required to pay, on a monthly basis, by certified check, the current

               CJA hourly rate for time spent on his defense by the Federal Defenders of New

               York, to the SDNY Clerk of Court by mail or in person;

      6.       The SDNY Clerk of Court will hold the funds paid by Mr. Hadden pursuant to the

               provisions of 18 U.S.C. § 3006A(f); and,

      7.       Should Mr. Hadden’s financial circumstances change during the pendency of this

               case, the terms of this Order may be revised.


      SO ORDERED.



                                                                s/  Ona T. Wang
Dated: February 10, 2021                                                Ona T. Wang
       New York, New York                                      United States Magistrate Judge
